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                                                                                    FILED
                                                                                       Clerk
                                                                                   District Court
 1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN MARIANA ISLANDS JAN 20 2022
 2
                                                         for the Northern Mariana Islands
 3                                                       By________________________
      ABU YOUSUF and MD.                  Case No. 1:21-cv-00015 (Deputy Clerk)
 4    ROKONNURZZAMAN,

 5                          Plaintiffs,
      -vs-                                                 ORDER GRANTING STIPULATION
 6                                                         TO CONTINUE DEFENDANTS’
 7    LONGFENG CORPORATION dba NEW                         MOTION TO DISMISS HEARING
      XO MARKET and PARTY POKER,                           AND STATUS CONFERENCE
 8    GUOWU LI, and XU GUI QING, jointly and
      severally, FELOTEO V. RANADA dba
 9    NVM ENTERPRISES, jointly and severally,
10
                         Defendants.
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             Based on the parties’ Stipulation to Continue Defendants’ Motion to Dismiss Hearing and
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     Status Conference (ECF No. 28) and FOR GOOD CAUSE SHOWN, the Court GRANTS the

15   Stipulation. The Defendants’ Motion to Dismiss will be heard on February 10, 2022 at 9:30 a.m. in

16   the 3rd Floor Courtroom.
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             SO ORDERED this 20th day of January, 2022.
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20                                              RAMONA V. MANGLONA
                                                Chief Judge
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